                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA


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                                                      )
                                                      )
In Re                                                 )
SECOND STREET PROPERTIES                              )     Case No. 14-41045-RLE
                                                      )
                                                      )
                                                      )
                                                      )
                                                      )


     REQUEST TO BE REMOVED FROM CM/ECF ELECTRONIC SERVICE LIST



TO THE COURT AND TO ALL COUNSEL OF RECORD:

        Attorney Alan J. Romero, former counsel of record for Creditor PROMINENT

SYSTEMS, INC. (“Former Counsel”) hereby respectfully requests removal from the CM/ECF

electronic service list in the instant action.


                                                          Respectfully submitted,

 Dated: July 17, 2019




                                                          Alan J. Romero (CA 249000)
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                                                      PROMINENT SYSTEMS, INC.


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Case: 14-41045       Doc# 946       Filed: 07/17/19   Entered: 07/17/19 14:17:15         Page 1 of 1
